             Case 1:19-cr-00366-LGS Document 143 Filed 01/07/21 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
UNITED STATES OF AMERICA                                       :
                                                               :   19 Crim. 366 (LGS)
                           -against-                           :
                                                               :         ORDER
STEPHEN M. CALK,                                               :
                                             Defendant.        :
------------------------------------------------------------- X
LORNA G. SCHOFIELD, District Judge:

          WHEREAS, on November 13, 2020, Defendant filed a renewed motion to transfer venue to

the Northern District of Illinois. Dkt. No. 131.

          WHEREAS, on January 6, 2021, Chief Judge Colleen McMahon of the United States

District Court for the Southern District of New York, issued a First Amended Standing Order

stating that, through February 12, 2021, “[a]ll criminal matters, including presentments,

arraignments, criminal conferences, pleas and sentencings, will be conducted remotely, unless (1)

the defendant declines to waive the right to be physically present, and (2) the court concludes that

the matter cannot be postponed, in conformity with the CARES Act.” 20 Misc. 622 (CM), Dkt. No.

3 (S.D.N.Y. Jan. 6, 2021).

          WHEREAS, on January 7, 2021, the parties appeared for oral argument on the renewed

motion to transfer. For the reasons stated during the oral argument, it is hereby

          ORDERED that the motion to transfer is DENIED without prejudice to renewal. It is

further

          ORDERED that the pretrial conference scheduled for February 5, 2021, at 11:00 a.m. (Dkt.

No. 115), will be telephonic and will occur on the following conference line: 888-363-4749,

access code: 5583333.

          The Clerk of Court is respectfully directed to close the motion at Docket No. 131.

Dated: January 7, 2021
       New York, New York
